mo 4 FTLED™ Document #: 1 Filed: 01/05/09 Page 1 of 4 PagelID #:1 pte

AUSA Erika L. Csicsila (3 12)353-5370

. Ni
JAN 05 2009 UNITED STATES DISTRICT COURT

4-5 -O9
MICHAEL W, Oosongg NORTHERN DISTRICT OF ILLINOIS

GLERK, U.S. DIBTRICT COURT EASTERN DIVISION
UNITED STATES OF AMERICA

OR 0004
)
| )

Magistrate Judge Morton Denlow
CHRISTOPHER J. McGEE
AFFIDAVIT IN REMOVAL PROCEEDING

I, ANTHONY CATENACCTI, personally appearing before United States Magistrate
Judge MORTON DENLOW and being duly sworn on oath, state that as a federal law
enforcement officer ] have been informed that CHRISTOPHER J. McGEE (hereinafter
“McGee”), has been charged by Indictment in the Southern District of Iowa with the
following criminal offense: conspiring to violate the narcotics laws of the United States, in
violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A), all in
violation of Title 18, United States Code, Section 2 and Title 21, United States Code, Section
846.

A copy of the Indictment is attached. I have been informed through official channels

that a warrant for the arrest of McGee has been issued pursuant to the Indictment. A copy

(hoary Nita

ANTHONY €ATENACCI
Deputy U.S. Marshal
United States Marshals Service

of the arrest warrant also is attached.

SUBSCRIBED AND SWORN to before me this 5th day of January, — enky.

 

MORTON DENLOW
United States Magistrate Judge

 

 
Case: 1:09-cr-00004 Document #: 1 Filed: 01/05/09 Page 2 of 4 PagelD #:2

IN THE UNITED STATES DISTRICT COURT Re
FOR THE SOUTHERN DISTRICT OF IOWA Cy,
M,
UNITED STATES OF AMERICA, ) €. y sd 19 ny ED
) oo
Plaintiff, } Criminal No. 3:07-cr-634 Cr
) pir
¥, ) Vii .
)
ANDRELL THOMAS SANDERS ) SUPERSEDING.
aka Q, . ) INDICTMENT
CHRISTOPHER JAMES MCGEE, an ) T. 21 U.S.C. § 841(a)(1)
JULIUS RYAN SHARKEY, ) T. 21 U.S.C. § 841(bY 1A)
) T. 18 U.S.C. § 2
Defendants. }
THE GRAND JURY CHARGES:
COUNT I

(Conspiracy to Distribute Drugs)
From a date unknown to the Grand Jury, but beginning by on or about October 23, 2006,
and continuing to on or about February 7, 2008, in and about Johnson County in the Southern

District of lowa, and elsewhere, the defendants, ANDRELL THOMAS SANDERS, aka Q,

CHRISTOPHER JAMES MCGEE, and JULIUS RYAN SHARKEY, did knowingly and
intentionally conspire with each other and other persons known and unknown to the Grand Jury
to knowingly distribute at least 50 grams of a mixture and substance containing cocaine base,
a.k.a. “‘erack” cocaine, a Schedule II controlled substance, in viclation of Title 21, United States
Code, Section 841(a)(1).

This is a violation of Title 18, United States Code, Section 2, and Title 21, United States

Code, Sections 846 and 841(b)(1)(A).
Case: 1:09-cr-00004 Document #: 1 Filed: 01/05/09 Page 3 of 4 PagelD #:3

COUNT 2
(Possession with Intent to Distribute)

On or about July 7, 2007, in and about Johnson County in the Southern District of lowa,
the defendants, ANDRELL THOMAS SANDERS, aka Q, and CHRISTOPHER JAMES
MCGEE, did knowingly and intentionally possess with intent to distribute at ieast 50 grams of a
mixture and substance containing cocaine base, a.k.a. “crack” cocaine, a Schedule II controlled
substance.

This is a violation of Title 18, United States Code, Section 2, and Title 21, United States

Code, Sections 841(a)(1) and 841(b)(1)(A).

COUNT 3
(Possession with Inteat to Distribute)

On or about February 7, 2008, in and about Johnson County in the Southern District of
fowa, the defendant, JULIUS RYAN SHARKEY, did knowingly and intentionally possess with
intent to distribute at least 50 grams of a mixture and substance containing cocaine base, a.k.a.
“crack” cocaine, a Schedule Ii controlied substance.

This is a violation of Title 18, United States Code, Section 2, and Title 21, United States

Code, Sections 841(a)(1) and 841(b)(1)(A).

A TRUE BILL,
/f

FOREPERSON

 

Matthew G. Whitaker
United States Attorney

By: /sf
Melisa Zachringer
Special Assistant United States Attomey

 
US MARSHALS SERVICE Fax: 312-886-2802 Jan 5 2009 12:12pm POQ06/011
, Case: 1:09-cr-00004 Document #: 1 Filed: 01/05/09 Page 4 of 4 PagelD #:4

AG 442 (Rev. 5/93) Warrant far Arrest
AAnited States District Court
SQUTHERN . DISTRICT OF _ JOWA

DAVENPORT DIVISION
UNITED STATES OF AMERICA
WARRANT FOR ARREST

Vv. .

CHRISTOPHER JAMES McGEF&
CASE NUMBER: 3:07-cr-634

TQ: The United States Marshal
and any Authorized United States Officer

YOU ARE HEREBY COMMANDED to arrast__Christopher James MoGee

Nore.

for proceedings in Davenport, lowa, ta answer an

KK] indictment Cl Information ry Complaint i Order of Court LJ Violation Notice LJ Probation Violation Patition
charging him or her with irist deseription. of offanse]

conspiracy to distribute cocaine base and possession with intent to
distribute cocaine base

in violation of Title __18: 21 United States Code, Section(s}__ 2; 846, 84 1{b)(1 A), B41{a}(1)

 

 

 

 

 

 

 

R. Johnsen Deputy Clerk

Hame of Issuing Officer Title of lespifig Officer

fo} ei fe, ae wR
— 4A. “AG SA Be March 12, 2008, Daveriport. lowa
Signature of insuing cer Date end Location
iN
Bail fixed at $i \ by
Mt Name of Judicial Officer
RETURN

 

This warrant was received and executed with the arrest of the above-named defendant at

 

 

 

BATE RECEIVED NAME AND TITLE OF ARRESTING GFFICER SIGNATURE OF ARRESTING OFFICER

 

DATE OF ARREST ‘

 

 

 

 

 

AQ 442 (Rev, 6/93) Warrant fer Arrest

 

 
